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                      Date        Amount


                    04/01/2023        0.09
                    04/03/2023    3,550.00
                    04/07/2023        0.02
                    04/07/2023    4,093.02
                    04/07/2023        0.06
                    04/10/2023      573.67
                    04/10/2023      858.36
                    04/10/2023    3,174.39
                    04/10/2023    2,668.56
                    04/12/2023    3,773.19
                    04/12/2023    4,011.53
                    04/21/2023    1,991.47
                    04/28/2023        0.01
                    04/28/2023    4,011.53

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                      Date       Num         Name          Amount


                    04/03/2023   dm      TD Bank            3,550.00
                    04/04/2023   985     Chase                468.01
                    04/07/2023   dm      Wells Fargo          927.43
                    04/07/2023   dm      Wells Fargo        3,152.16
                    04/07/2023   dm      Wells Fargo        1,064.04
                    04/07/2023   dm      Wells Fargo          940.84
                    04/10/2023   dm      Wells Fargo        2,668.56
                    04/10/2023   dm      Bank of America      573.67
                    04/10/2023   dm      Chase                858.36
                    04/10/2023   dm      Wells Fargo        3,174.39
                    04/11/2023   dm      The Hartford         375.94
                    04/12/2023   dm      Wells Fargo        3,536.18
                    04/12/2023   dm      Wells Fargo          237.01
                    04/12/2023   101     PNC Bank           3,836.97
                    04/19/2023   102     Chase              1,635.06
                    04/19/2023   103     Optimum              250.77
                    04/19/2023   104     Veolia                43.24
                    04/21/2023   dm      CVS Pharmacy          15.00
                    04/28/2023   dm      PSEG                 632.95

                                         Total             27,940.58




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Masahiko Negita
Yasuko Negita
Co-Debtors
Case No.: 23-12365
Post Petition Payables
as of April 30, 2023




Rabinowitz, Lubetkin & Tully               31-60                5,000.00
Sean Raquet CPA LLC                        31-60                1,000.00
Rabinowitz, Lubetkin & Tully               0-30                16,250.56
Sean Raquet CPA LLC                        0-30                 2,262.50

Total                                                          18,513.06




                                                   Exhibit E
           Case 23-12365-SLM             Doc 68        Filed 05/25/23 Entered 05/25/23 09:10:31          Desc Main
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8:24 AM                                                         Negita
05/20/23                                               Reconciliation Detail
                                              Wells Fargo 8343, Period Ending 04/30/2023

                    Type               Date           Num         Name      Clr      Amount            Balance
             Beginning Balance                                                                                   0.00
                 Cleared Transactions
                   Checks and Payments - 6 items
             Check              04/12/2023     101          PNC Bank         X             -3,836.97      -3,836.97
             Check              04/19/2023     102          Chase            X             -1,635.06      -5,472.03
             Check              04/19/2023     103          Optimum          X               -250.77      -5,722.80
             Check              04/19/2023     104          Veolia           X                -43.24      -5,766.04
             Check              04/21/2023     dm           CVS Pharmacy     X                -15.00      -5,781.04
             Check              04/28/2023     dm           PSEG             X               -632.95      -6,413.99

                    Total Checks and Payments                                              -6,413.99      -6,413.99

                     Deposits and Credits - 7 items
             Transfer             04/07/2023                                 X              4,093.02       4,093.02
             Transfer             04/10/2023                                 X              2,668.56       6,761.58
             Transfer             04/10/2023                                 X              3,174.39       9,935.97
             Transfer             04/12/2023                                 X              3,773.19      13,709.16
             General Journal      04/12/2023      1                          X              4,011.53      17,720.69
             Deposit              04/21/2023                                 X              1,991.47      19,712.16
             Deposit              04/28/2023                                 X              4,011.53      23,723.69

                    Total Deposits and Credits                                             23,723.69      23,723.69

                 Total Cleared Transactions                                                17,309.70      17,309.70

             Cleared Balance                                                               17,309.70      17,309.70

             Register Balance as of 04/30/2023                                             17,309.70      17,309.70

             Ending Balance                                                                17,309.70      17,309.70




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Wells Fargo Everyday Checking
April 30, 2023         Page 1 of 5




                                                                                                           Questions?
YASUKO NEGITA                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           We accept all relay calls, including 711
MASAHIKO NEGITA
DEBTOR IN POSSESSION                                                                                         1-800-TO-WELLS              (1-800-869-3557)

CH11 CASE #23-12365 (NJ)                                                                                     En español: 1-877-727-2932
8 FLORAL TERRACE
TENAFLY NJ 07670
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (347)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Don't fall for an IRS imposter scam. Learn to spot scams and help avoid tax fraud at                      A check mark in the box indicates you have these
 www.wellsfargo.com/spottaxscams.                                                                          convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           ✓     Direct Deposit
                                                                                                           Online Bill Pay           ✓    Auto Transfer/Payment
                                                                                                           Online Statements        ✓     Overdraft Protection
                                                                                                           Mobile Banking           ✓     Debit Card
                                                                                                           My Spending Report       ✓     Overdraft Service       ✓



Statement period activity summary                                                                          Account number:               8343
         Beginning balance on 4/7                                                      $0.00               YASUKO NEGITA
                                                                                                           MASAHIKO NEGITA
         Deposits/Additions                                                        23,723.69
                                                                                                           DEBTOR IN POSSESSION
         Withdrawals/Subtractions                                                 - 6,413.99
                                                                                                           CH11 CASE #23-12365 (NJ)
         Ending balance on 4/30                                                  $17,309.70
                                                                                                           New Jersey account terms and conditions apply

                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 021200025



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (347)
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Transaction history


                            Check                                                                                    Deposits/         Withdrawals/          Ending daily
       Date                Number Description                                                                        Additions         Subtractions              balance
       4/7                         Deposit Made In A Branch/Store                                                     4,093.02                                  4,093.02
       4/10                        Deposit Made In A Branch/Store                                                     3,174.39
       4/10                        Deposit Made In A Branch/Store                                                     2,668.56                                   9,935.97
       4/12                        Deposit                                                                            4,011.53
       4/12                        Deposit                                                                            3,773.19
       4/12                    101 Check                                                                                                    3,836.97            13,883.72
       4/20                    102 Check                                                                                                    1,635.06            12,248.66
       4/21                        Edeposit IN Branch/Store 04/21/23 11:25:19 Am 1 W Railroad Ave                     1,991.47
                                   Tenafly NJ
       4/21                        Purchase authorized on 04/20 Cvs/Pharmacy #0074 Tenafly NJ                                                   15.00           14,225.13
                                   S583110507152618 Card 2205
       4/25                  ^ 103 Optimum/Suddnlnk Cable Serv 230424 00103 07802041285052                                                   250.77
       4/25                    104 Check                                                                                                      43.24             13,931.12
       4/28                        Edeposit IN Branch/Store 04/28/23 09:20:45 Am 1 W Railroad Ave                     4,011.53
                                   Tenafly NJ
       4/28                        Public Service Pseg 007274524607 Masahiko Negita                                                          632.95             17,309.70

       Ending balance on 4/30                                                                                                                                 17,309.70

       Totals                                                                                                     $23,723.69             $6,413.99

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


       ^ Converted check: Check converted to an electronic format by your payee or designated representative. Checks converted to electronic format cannot be
         returned, copied or imaged.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

      Number              Date                Amount           Number            Date                 Amount           Number            Date                  Amount
      101                 4/12                3,836.97         103               4/25                  250.77          104               4/25                    43.24
      102                 4/20                1,635.06



Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for
a link to these documents, and answers to common monthly service fee questions.


       Fee period 04/07/2023 - 04/30/2023                                                   Standard monthly service fee $10.00                   You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. Your fee waiver is about to expire. You will
       need to meet one of the requirements to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                     Minimum required                  This fee period
       Have any ONE of the following account requirements
         · Minimum daily balance                                                                                          $500.00                       $4,093.02 ✓
            · Total amount of qualifying electronic deposits                                                              $500.00                           $0.00
            · Age of primary account owner                                                                                   17 - 24
            · The fee is waived when the account is linked to a Wells Fargo Campus ATM or
              Campus Debit Card
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Monthly service fee summary (continued)
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period.
       RC/RC




        IMPORTANT ACCOUNT INFORMATION

Important information regarding upcoming changes to the Campus Card benefits linked to an Everyday Checking account.

On June 5, 2023, Campus Card fee benefits will change.

1. The monthly service fee waiver benefit will end 60 days after an Everyday Checking account is no longer linked to an active Campus
Card. However, the $10 monthly service fee for Everyday Checking can be avoided if the account meets ONE of the following options
each fee period:
- $500 minimum daily balance
- $500 or more in total qualifying direct deposits*
- Primary account owner is 17-24 years old**
- Account linked to a Wells Fargo Campus ATM Card or Campus Debit Card***

2. Courtesy refunds provided with a linked Campus Card will continue for one overdraft fee*** and one incoming wire transfer fee***,
but the time period for calculating these refunds is changing from calendar month to fee period.

Statements include a monthly service fee summary with the dates of the fee period. The monthly service fee summary with the dates
of the fee period is also available online in the account's Balance Details and in the mobile app in the Activity Summary section.

There is no change to the following Campus Card benefit: No Wells Fargo fees for up to four cash withdrawals per fee period from
non-Wells Fargo ATMs in the U.S. (Fees charged by non-Wells Fargo ATM operator or network may apply.)***

* A qualifying electronic deposit is a deposit of funds, such as your salary, government benefit payment, or other income, that has
posted to your account and is (1) a direct deposit made through the Automated Clearing House (ACH) network, (2) an instant payment
                             ®
processed through the RTP network (real-time payment system) or FedNow SM Service, or (3) an electronic credit from a third party
                                                                    ®               ®
service that facilitates payments to your debit card using the Visa or Mastercard network (e.g. an Original Credit Transaction).
                                                                 ®
Transfers from one account to another, mobile deposits, Zelle , or deposits made at a branch or ATM are not considered a qualifying
electronic deposit. An ACH direct deposit made available early with Early Pay Day does not count towards the bonus requirements
until it posts to your account and is no longer pending (e.g., the pay date scheduled by your payor).

**When the primary account owner reaches the age of 25, age can no longer be used to avoid the monthly service fee.

***These benefits will take effect within 45 days following the linkage of a Campus Card to an Everyday Checking account. Benefits will
end 60 days after the Campus Card is no longer linked, and the Bank's standard Everyday Checking account terms and fees apply.

The Consumer Account Fee and Information Schedule and Deposit Account Agreement, as amended, continue to apply.

Wells Fargo Campus Card program
Wells Fargo Campus ATM and Campus Debit Cards are available for students, faculty and staff of colleges and universities that
participate in the Wells Fargo Campus Card SM program.

Please let us know if you have questions
If you have questions about these changes or would like to make changes to your account, please contact your local banker or call the
number listed on your statement. We are here to help.

Thank you for banking with Wells Fargo. We appreciate your business.




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NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-TO WELLS
(1-800-869-3557) to share your language preference.



A simplified fee schedule for Consumer Wires will be effective June 26, 2023:

Outgoing wire transfer fees

- Digital Wire: Domestic and International U.S. currency = $25, International Foreign currency = $0

- Branch/Voice Channel: Domestic, International U.S. currency, and International Foreign currency = $40

- Repetitive Outgoing Wire: Domestic, International U.S. currency, and International Foreign currency = $25

Incoming wire transfer fee

- Domestic and International = $15

Fees may vary based on the type of account you have as some accounts offer fee waivers for some services. For a complete list of
services, fees, and fee waivers that are available with your account, please refer to your Consumer Account Fee and Information
Schedule, as applicable.




Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo personal loan.
Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score.
Get started at wellsfargo.com/personalloan.
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Worksheet to balance your account                                         Important Information You Should Know
Follow the steps below to reconcile your statement balance with your         To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest      Consumer Reporting Agency about your accounts:
paid into your account and any service charges, automatic payments or        Wells Fargo Bank, N.A. may furnish information about deposit accounts to
ATM transactions withdrawn from your account during this statement           consumer reporting agencies. You have the right to dispute the accuracy of
period.                                                                      information that we have furnished to a consumer reporting agency by
A Enter the ending balance on this statement.             $                  writing to us at Overdraft Collection and Recovery, P.O. Box 5058, Portland,
                                                                             OR 97208-5058. Please describe the specific information that is inaccurate
 B List outstanding deposits and other                                       or in dispute and the basis for the dispute along with supporting
credits to your account that do not appear on                                documentation. If you believe the information furnished is the result of
this statement. Enter the total in the column                                identity theft, please provide us with an identity theft report.
to the right.                                                                If your account has a negative balance:
                                                                             Please note that an account overdraft that is not resolved 60 days from the
Description                     Amount
                                                                             date the account first became overdrawn will result in closure and charge
                                                                             off of your account. In this event, it is important that you make
                                                                             arrangements to redirect recurring deposits and payments to another
                                                                             account. The closure will be reported to Early Warning Services. We reserve
                                                                             the right to close and/or charge-off your account at an earlier date, as
                                                                             permitted by law. The laws of some states require us to inform you that this
                                                                             communication is an attempt to collect a debt and that any information
                    Total   $                          + $                   obtained will be used for that purpose.
                                                                             In case of errors or questions about your electronic transfers:
C Add A and B to calculate the subtotal.               = $                   Telephone us at the number printed on the front of this statement or write
                                                                             us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
 D List outstanding checks, withdrawals, and
                                                                             you can, if you think your statement or receipt is wrong or if you need more
other debits to your account that do not appear
                                                                             information about a transfer on the statement or receipt. We must hear
on this statement. Enter the total in the column
                                                                             from you no later than 60 days after we sent you the FIRST statement on
to the right.                                                                which the error or problem appeared.

Number/Description              Amount                                       1. Tell us your name and account number (if any).
                                                                             2. Describe the error or the transfer you are unsure about, and explain as
                                                                                clearly as you can why you believe it is an error or why you need more
                                                                                information.
                                                                             3. Tell us the dollar amount of the suspected error.
                                                                             We will investigate your complaint and will correct any error promptly. If
                                                                             we take more than 10 business days to do this, we will credit your account
                                                                             for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.
                                                                             In case of errors or questions about other transactions (that are not
                                                                             electronic transfers):
                                                                             Promptly review your account statement within 30 days after we made it
                                                                             available to you, and notify us of any errors.




                    Total   $                          -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                  ©2021 Wells Fargo Bank, N.A. All rights reserved Member FDIC. NMLSR ID 399801




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5:09 PM                                                       Negita
05/19/23                                             Reconciliation Detail
                                         Bank of America 1997, Period Ending 04/29/2023

                    Type               Date         Num          Name    Clr      Amount           Balance
             Beginning Balance                                                                         2,094.89
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/10/2023     dm         Wells Fargo     X          -2,668.56        -2,668.56

                    Total Checks and Payments                                        -2,668.56        -2,668.56

                    Deposits and Credits - 1 item
             Transfer            04/10/2023                               X               573.67         573.67

                    Total Deposits and Credits                                            573.67         573.67

                 Total Cleared Transactions                                          -2,094.89        -2,094.89

             Cleared Balance                                                         -2,094.89               0.00

             Register Balance as of 04/29/2023                                       -2,094.89               0.00

             Ending Balance                                                          -2,094.89               0.00




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05/19/23                                            Reconciliation Detail
                                         Bank of America 7791, Period Ending 04/30/2023

                    Type               Date       Num          Name       Clr     Amount        Balance
             Beginning Balance                                                                        573.67
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/10/2023     dm       Bank of America   X           -573.67        -573.67

                    Total Checks and Payments                                         -573.67        -573.67

                 Total Cleared Transactions                                           -573.67        -573.67

             Cleared Balance                                                          -573.67             0.00

             Register Balance as of 04/30/2023                                        -573.67             0.00

             Ending Balance                                                           -573.67             0.00




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05/19/23                                             Reconciliation Detail
                                                 Chase 4082, Period Ending 04/24/2023

                    Type               Date        Num            Name      Clr         Amount        Balance
             Beginning Balance                                                                              858.36
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/10/2023     dm         Chase              X              -858.36        -858.36

                    Total Checks and Payments                                               -858.36        -858.36

                 Total Cleared Transactions                                                 -858.36        -858.36

             Cleared Balance                                                                -858.36             0.00

             Register Balance as of 04/24/2023                                              -858.36             0.00

             Ending Balance                                                                 -858.36             0.00




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5:11 PM                                                       Negita
05/19/23                                             Reconciliation Detail
                                                 Chase 8365, Period Ending 04/24/2023

                    Type               Date         Num          Name       Clr         Amount         Balance
             Beginning Balance                                                                             2,316.03
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/10/2023     dm         Wells Fargo        X             -3,174.39      -3,174.39

                    Total Checks and Payments                                              -3,174.39      -3,174.39

                    Deposits and Credits - 1 item
             Transfer            04/10/2023                                  X               858.36          858.36

                    Total Deposits and Credits                                               858.36          858.36

                 Total Cleared Transactions                                                -2,316.03      -2,316.03

             Cleared Balance                                                               -2,316.03             0.00

             Register Balance as of 04/24/2023                                             -2,316.03             0.00

             Ending Balance                                                                -2,316.03             0.00




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5:12 PM                                                        Negita
05/19/23                                              Reconciliation Detail
                                                    TD 8803, Period Ending 04/30/2023

                    Type               Date          Num           Name       Clr       Amount         Balance
             Beginning Balance                                                                               830.13
                 Cleared Transactions
                   Checks and Payments - 3 items
             Check              04/04/2023     985          Chase             X              -468.01        -468.01
             Check              04/11/2023     dm           The Hartford      X              -375.94        -843.95
             Check              04/12/2023     dm           Wells Fargo       X            -3,536.18      -4,380.13

                    Total Checks and Payments                                              -4,380.13      -4,380.13

                    Deposits and Credits - 1 item
             Transfer            04/03/2023                                   X            3,550.00        3,550.00

                    Total Deposits and Credits                                             3,550.00        3,550.00

                 Total Cleared Transactions                                                 -830.13         -830.13

             Cleared Balance                                                                -830.13              0.00

             Register Balance as of 04/30/2023                                              -830.13              0.00

             Ending Balance                                                                 -830.13              0.00




                                                                                                                        Page 1
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Case 23-12365-SLM   Doc 68    Filed 05/25/23 Entered 05/25/23 09:10:31   Desc Main
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                                                     Document     Page 36 of 70
5:13 PM                                                        Negita
05/19/23                                              Reconciliation Detail
                                                 TD Bank 4751, Period Ending 04/30/2023

                    Type               Date          Num          Name       Clr      Amount          Balance
             Beginning Balance                                                                            3,787.01
                 Cleared Transactions
                   Checks and Payments - 2 items
             Check              04/03/2023     dm          TD Bank            X           -3,550.00      -3,550.00
             Check              04/12/2023     dm          Wells Fargo        X             -237.01      -3,787.01

                    Total Checks and Payments                                             -3,787.01      -3,787.01

                 Total Cleared Transactions                                               -3,787.01      -3,787.01

             Cleared Balance                                                              -3,787.01             0.00

             Register Balance as of 04/30/2023                                            -3,787.01             0.00

             Ending Balance                                                               -3,787.01             0.00




                                                                                                                       Page 1
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           Case 23-12365-SLM             Doc 68       Filed 05/25/23 Entered 05/25/23 09:10:31          Desc Main
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5:15 PM                                                        Negita
05/19/23                                              Reconciliation Detail
                                                 CMA 1284, Period Ending 04/30/2023

                    Type               Date          Num       Name        Clr        Amount          Balance
             Beginning Balance                                                                              877.44
                 Cleared Transactions
                     Deposits and Credits - 1 item
             Deposit              04/28/2023                                X                  0.01             0.01

                    Total Deposits and Credits                                                 0.01             0.01

                 Total Cleared Transactions                                                    0.01             0.01

             Cleared Balance                                                                   0.01         877.45

             Register Balance as of 04/30/2023                                                 0.01         877.45

             Ending Balance                                                                    0.01         877.45




                                                                                                                       Page 1
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5:17 PM                                                       Negita
05/19/23                                             Reconciliation Detail
                                                 Merrill 3455, Period Ending 04/30/2023

                    Type               Date         Num          Name         Clr         Amount        Balance
             Beginning Balance                                                                              1,322.41
                  Cleared Transactions
                    Checks and Payments - 1 item
             Transfer            03/01/2022     dm                            X               -877.44        -877.44

                    Total Checks and Payments                                                 -877.44        -877.44

                 Total Cleared Transactions                                                   -877.44        -877.44

             Cleared Balance                                                                  -877.44         444.97

             Register Balance as of 04/30/2023                                                -877.44         444.97

             Ending Balance                                                                   -877.44         444.97




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5:18 PM                                                      Negita
05/19/23                                            Reconciliation Detail
                                              Wells Fargo 3981, Period Ending 04/30/2023

                    Type               Date        Num           Name       Clr      Amount          Balance
             Beginning Balance                                                                             927.43
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/07/2023     dm         Wells Fargo        X             -927.43        -927.43

                    Total Checks and Payments                                              -927.43        -927.43

                 Total Cleared Transactions                                                -927.43        -927.43

             Cleared Balance                                                               -927.43             0.00

             Register Balance as of 04/30/2023                                             -927.43             0.00

             Ending Balance                                                                -927.43             0.00




                                                                                                                      Page 1
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                                                                                                Questions?
           REIKA KATHERINE NEGITA                                                               Available by phone 24 hours a day, 7 days a week:
                                                                                                We accept all relay calls, including 711
           YASUKO NEGITA
           8 FLORAL TERRACE                                                                      1-800-TO-WELLS              (1-800-869-3557)

           TENAFLY NJ 07670                                                                      En español: 1-877-727-2932



                                                                                                Online: wellsfargo.com

                                                                                                Write: Wells Fargo Bank, N.A. (347)
                                                                                                        P.O. Box 6995
                                                                                                        Portland, OR 97228-6995




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 Don't fall for an IRS imposter scam. Learn to spot scams and help avoid tax fraud at           A check mark in the box indicates you have these
 www.wellsfargo.com/spottaxscams.                                                               convenient services with your account(s). Go to
                                                                                                wellsfargo.com or call the number above if you have
                                                                                                questions or if you would like to add new services.

                                                                                                Online Banking           ✓      Direct Deposit
                                                                                                Online Bill Pay          ✓      Auto Transfer/Payment
                                                                                                Online Statements        ✓      Overdraft Protection
                                                                                                Mobile Banking           ✓      Debit Card
                                                                                                My Spending Report       ✓      Overdraft Service




Summary of accounts

Checking and Savings
                                                                                                              Ending balance                     Ending balance
Account                                                  Page                  Account number                  last statement                     this statement
           ®
Wells Fargo Essential Checking                             2                             3981                          927.43                                0.00
                      ®
Wells Fargo Way2Save Savings                               4                             9530                        1,063.95                                0.00

                                                         Total deposit accounts                                     $1,991.38                             $0.00




     Sheet Seq = 0137287
        Case 23-12365-SLM                       Doc 68       Filed 05/25/23 Entered 05/25/23 09:10:31                                         Desc Main
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                          ®
Wells Fargo Essential Checking

Statement period activity summary                                                                          Account number: 1               3981
         Beginning balance on 3/16                                                   $927.43               REIKA KATHERINE NEGITA
                                                                                                           YASUKO NEGITA
         Deposits/Additions                                                              0.00
         Withdrawals/Subtractions                                                   - 927.43               New Jersey account terms and conditions apply
         Closing balance on 4/7                                                        $0.00               For Direct Deposit use
                                                                                                           Routing Number (RTN): 021200025



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       4/7                      Account Close Cashier's Check                                                                               927.43                  0.00

       Ending balance on 4/17                                                                                                                                      0.00

       Totals                                                                                                           $0.00              $927.43

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




This statement includes an account that has been closed and this is your final statement for that account. You will have 90 days to
retrieve historical online documents for this account. Please refer to the Fee & Information Schedule for options to obtain statement
copies after 90 days.

If the account that has been closed is the primary account on the statement that includes multiple accounts (a "combined statement"),
this is also the final combined statement and you will also have 90 days to retrieve historical online documents for all accounts
associated with this combined statement. Going forward, you will receive separate statements for any accounts that remain open.

Thank you for banking with Wells Fargo.




         IMPORTANT ACCOUNT INFORMATION

NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-TO WELLS
(1-800-869-3557) to share your language preference.



Important information regarding upcoming changes to the Campus Card benefits linked to an Essential Checking account.
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On May 8, 2023, Essential Checking accounts will no longer be eligible to avoid the monthly service fee when linked to a Wells Fargo
Campus Card.

The $7 monthly service fee for Essential Checking can be avoided if the account meets ONE of the following options each fee period:
- $1,500 minimum daily balance
- $500 or more in total qualifying direct deposits*
Receive a $2 monthly service fee discount when you have online only statements for this account.

Statements include a monthly service fee summary with the dates of the fee period. The monthly service fee summary with the dates
of the fee period is also available online in the account's Balance Details and in the mobile app in the Activity Summary section.

* A qualifying electronic deposit is a deposit of funds, such as your salary, government benefit payment, or other income, that has
posted to your account and is (1) a direct deposit made through the Automated Clearing House (ACH) network, (2) an instant payment
                             ®
processed through the RTP network (real-time payment system) or FedNow SM Service, or (3) an electronic credit from a third party
                                                                    ®               ®
service that facilitates payments to your debit card using the Visa or Mastercard network (e.g. an Original Credit Transaction).
                                                                 ®
Transfers from one account to another, mobile deposits, Zelle , or deposits made at a branch or ATM are not considered a qualifying
electronic deposit. An ACH direct deposit made available early with Early Pay Day does not count towards the bonus requirements
until it posts to your account and is no longer pending (e.g., the pay date scheduled by your payor).

The Consumer Account Fee and Information Schedule and Deposit Account Agreement, as amended, continue to apply.

Wells Fargo Campus Card program
Wells Fargo Campus ATM and Campus Debit Cards are available for students, faculty and staff of universities that participate in the
Wells Fargo Campus Card SM program.

Please let us know if you have questions
If you have questions about these changes or would like to make changes to your account, please contact your local banker or call the
number listed on your statement. We are here to help.

Thank you for banking with Wells Fargo. We appreciate your business.



A simplified fee schedule for Consumer Wires will be effective June 26, 2023:

Outgoing wire transfer fees

- Digital Wire: Domestic and International U.S. currency = $25, International Foreign currency = $0

- Branch/Voice Channel: Domestic, International U.S. currency, and International Foreign currency = $40

- Repetitive Outgoing Wire: Domestic, International U.S. currency, and International Foreign currency = $25

Incoming wire transfer fee

- Domestic and International = $15

Fees may vary based on the type of account you have as some accounts offer fee waivers for some services. For a complete list of
services, fees, and fee waivers that are available with your account, please refer to your Consumer Account Fee and Information
Schedule, as applicable.




Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo personal loan.
Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score.




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           Case 23-12365-SLM                Doc 68      Filed 05/25/23 Entered 05/25/23 09:10:31            Desc Main
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5:19 PM                                                          Negita
05/19/23                                                Reconciliation Detail
                                                 Wells Fargo 9530, Period Ending 04/30/2023

                       Type               Date         Num          Name       Clr      Amount            Balance
             Beginning Balance                                                                                1,063.95
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/07/2023     dm            Wells Fargo        X             -1,064.04      -1,064.04

                       Total Checks and Payments                                              -1,064.04      -1,064.04

                       Deposits and Credits - 1 item
             Deposit                04/01/2023                                  X                 0.09              0.09

                       Total Deposits and Credits                                                 0.09              0.09

                 Total Cleared Transactions                                                   -1,063.95      -1,063.95

             Cleared Balance                                                                  -1,063.95             0.00

             Register Balance as of 04/30/2023                                                -1,063.95             0.00

             Ending Balance                                                                   -1,063.95             0.00




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                                                ®
Wells Fargo Way2Save Savings

Statement period activity summary                                                                       Account number:                 9530
        Beginning balance on 3/16                                               $1,063.95               REIKA KATHERINE NEGITA
                                                                                                        YASUKO NEGITA
        Deposits/Additions                                                           0.09
        Withdrawals/Subtractions                                                - 1,064.04              New Jersey account terms and conditions apply
        Closing balance on 4/7                                                      $0.00               For Direct Deposit use
                                                                                                        Routing Number (RTN): 021200025




Interest summary
       Interest paid this statement                                     $0.09
       Average collected balance                                   $1,063.95
       Annual percentage yield earned                                  0.14%
       Interest earned this statement period                            $0.09
       Interest paid this year                                          $0.49




Transaction history

                                                                                                               Deposits/         Withdrawals/           Ending daily
       Date         Description                                                                                Additions         Subtractions               balance
       4/7          Interest Payment                                                                                0.09
       4/7          Account Close Cashier's Check                                                                                       1,064.04                0.00

       Ending balance on 4/17                                                                                                                                   0.00

       Totals                                                                                                      $0.09            $1,064.04

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




This statement includes an account that has been closed and this is your final statement for that account. You will have 90 days to
retrieve historical online documents for this account. Please refer to the Fee & Information Schedule for options to obtain statement
copies after 90 days.

If the account that has been closed is the primary account on the statement that includes multiple accounts (a "combined statement"),
this is also the final combined statement and you will also have 90 days to retrieve historical online documents for all accounts
associated with this combined statement. Going forward, you will receive separate statements for any accounts that remain open.

Thank you for banking with Wells Fargo.
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Worksheet to balance your account                                         Important Information You Should Know
Follow the steps below to reconcile your statement balance with your         To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest      Consumer Reporting Agency about your accounts:
paid into your account and any service charges, automatic payments or        Wells Fargo Bank, N.A. may furnish information about deposit accounts to
ATM transactions withdrawn from your account during this statement           consumer reporting agencies. You have the right to dispute the accuracy of
period.                                                                      information that we have furnished to a consumer reporting agency by
A Enter the ending balance on this statement.             $                  writing to us at Overdraft Collection and Recovery, P.O. Box 5058, Portland,
                                                                             OR 97208-5058. Please describe the specific information that is inaccurate
 B List outstanding deposits and other                                       or in dispute and the basis for the dispute along with supporting
credits to your account that do not appear on                                documentation. If you believe the information furnished is the result of
this statement. Enter the total in the column                                identity theft, please provide us with an identity theft report.
to the right.                                                                If your account has a negative balance:
                                                                             Please note that an account overdraft that is not resolved 60 days from the
Description                     Amount
                                                                             date the account first became overdrawn will result in closure and charge
                                                                             off of your account. In this event, it is important that you make
                                                                             arrangements to redirect recurring deposits and payments to another
                                                                             account. The closure will be reported to Early Warning Services. We reserve
                                                                             the right to close and/or charge-off your account at an earlier date, as
                                                                             permitted by law. The laws of some states require us to inform you that this
                                                                             communication is an attempt to collect a debt and that any information
                    Total   $                          + $                   obtained will be used for that purpose.
                                                                             In case of errors or questions about your electronic transfers:
C Add A and B to calculate the subtotal.               = $                   Telephone us at the number printed on the front of this statement or write
                                                                             us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
 D List outstanding checks, withdrawals, and
                                                                             you can, if you think your statement or receipt is wrong or if you need more
other debits to your account that do not appear
                                                                             information about a transfer on the statement or receipt. We must hear
on this statement. Enter the total in the column
                                                                             from you no later than 60 days after we sent you the FIRST statement on
to the right.                                                                which the error or problem appeared.

Number/Description              Amount                                       1. Tell us your name and account number (if any).
                                                                             2. Describe the error or the transfer you are unsure about, and explain as
                                                                                clearly as you can why you believe it is an error or why you need more
                                                                                information.
                                                                             3. Tell us the dollar amount of the suspected error.
                                                                             We will investigate your complaint and will correct any error promptly. If
                                                                             we take more than 10 business days to do this, we will credit your account
                                                                             for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.
                                                                             In case of errors or questions about other transactions (that are not
                                                                             electronic transfers):
                                                                             Promptly review your account statement within 30 days after we made it
                                                                             available to you, and notify us of any errors.




                    Total   $                          -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                  ©2021 Wells Fargo Bank, N.A. All rights reserved Member FDIC. NMLSR ID 399801




      Sheet Seq = 0137289
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5:19 PM                                                          Negita
05/19/23                                                Reconciliation Detail
                                                 Wells Fargo 6675, Period Ending 04/30/2023

                       Type               Date         Num          Name       Clr      Amount            Balance
             Beginning Balance                                                                                3,152.14
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/07/2023     dm            Wells Fargo        X             -3,152.16      -3,152.16

                       Total Checks and Payments                                              -3,152.16      -3,152.16

                       Deposits and Credits - 1 item
             Deposit                04/07/2023                                  X                 0.02              0.02

                       Total Deposits and Credits                                                 0.02              0.02

                 Total Cleared Transactions                                                   -3,152.14      -3,152.14

             Cleared Balance                                                                  -3,152.14             0.00

             Register Balance as of 04/30/2023                                                -3,152.14             0.00

             Ending Balance                                                                   -3,152.14             0.00




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                                                                                                Questions?
           YASUKO NEGITA                                                                        Available by phone 24 hours a day, 7 days a week:
                                                                                                We accept all relay calls, including 711
           8 FLORAL TERRACE
           TENAFLY NJ 07670                                                                      1-800-TO-WELLS              (1-800-869-3557)

                                                                                                 En español: 1-877-727-2932



                                                                                                Online: wellsfargo.com

                                                                                                Write: Wells Fargo Bank, N.A. (347)
                                                                                                        P.O. Box 6995
                                                                                                        Portland, OR 97228-6995




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 www.wellsfargo.com/spottaxscams.                                                               convenient services with your account(s). Go to
                                                                                                wellsfargo.com or call the number above if you have
                                                                                                questions or if you would like to add new services.

                                                                                                Online Banking           ✓      Direct Deposit
                                                                                                Online Bill Pay          ✓      Auto Transfer/Payment
                                                                                                Online Statements        ✓      Overdraft Protection
                                                                                                Mobile Banking           ✓      Debit Card
                                                                                                My Spending Report       ✓      Overdraft Service




Summary of accounts

Checking and Savings
                                                                                                              Ending balance                     Ending balance
Account                                                  Page                  Account number                  last statement                     this statement
                      ®
Crown Classic Banking                                      2                              675                        3,152.14                                0.00
                      ®
Wells Fargo Way2Save Savings                               4                             9608                          940.78                                0.00

                                                         Total deposit accounts                                     $4,092.92                             $0.00




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                                                   ®
Crown Classic Banking

Statement period activity summary                                                                          Account number: 1               6675
         Beginning balance on 3/16                                                 $3,152.14               YASUKO NEGITA
         Deposits/Additions                                                              0.02              New Jersey account terms and conditions apply
         Withdrawals/Subtractions                                                  - 3,152.16
                                                                                                           For Direct Deposit use
         Closing balance on 4/7                                                        $0.00               Routing Number (RTN): 021200025



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.02
       Average collected balance                                      $3,152.14
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.02
       Interest paid this year                                             $0.09




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       4/7                      Interest Payment                                                                         0.02
       4/7                      Account Close Cashier's Check                                                                              3,152.16                0.00

       Ending balance on 4/17                                                                                                                                      0.00

       Totals                                                                                                           $0.02            $3,152.16

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




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associated with this combined statement. Going forward, you will receive separate statements for any accounts that remain open.

Thank you for banking with Wells Fargo.
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        IMPORTANT ACCOUNT INFORMATION

Important information regarding upcoming changes to your Crown Classic Banking Checking account.

Effective May 8, 2023,     if the monthly service fee on this account can be avoided with an automatic payment to a Wells Fargo home
mortgage, and automatic payment is discontinued, you have 12 fee periods from the date the payment was discontinued to meet ONE
of the requirements to avoid the $15 monthly service fee:

-$1,000 or more combined minimum daily balance* in this Crown Classic Banking Checking account, other linked personal checking
accounts, savings accounts, and outstanding balances in Wells Fargo personal loans, Wells Fargo Home Mortgage second mortgages
and line amounts in Wells Fargo personal lines of credit, home equity lines of credit, and the line amounts shown on your most recent
Wells Fargo credit card statements**
-$1,000 or more combined minimum daily balance* in Time Accounts (CDs), and FDIC-insured Retirement accounts
-Make a monthly automatic loan payment from this checking account to a Wells Fargo Home Mortgage loan***

The 12-month fee waiver will no longer apply if your account is changed to a different checking product.
You can determine when your account's fee period starts by reviewing the monthly service fee summary section of your account
statement. The monthly service fee summary is also available online in your account's Balance Details and in the Activity Summary
section of the mobile app.

*For checking accounts with a combined balance option to avoid the monthly service fee (excluding Prime Checking and Premier
Checking accounts), the combined balance is determined one business day prior to the last business day of your fee period. Each
checking account offering a combined balance option defines the type of account balance (example: minimum daily balance, average
ledger balance) required that can contribute to the combined balance.

**Accounts linked to this Crown Classic Banking Checking account cannot simultaneously be linked to any other Wells Fargo checking
account to meet the combined balance option for that account to avoid the monthly service fee. Effective September 16, 2019, only
accounts with the same account owners on this Crown Classic Banking Checking account will be linked automatically. Talk to a banker
to link accounts where the account owners vary. Excludes student, first mortgage, and certain direct and indirect loans. Loans and lines
of credit from certain affiliated companies l ke Wells Fargo Auto, Wells Fargo Leasing, and Wells Fargo Direct also cannot be linked.

***If you refinance your Wells Fargo Home Mortgage loan with another lender, the monthly automatic loan payments will no longer
be used to avoid the monthly service fee. If you refinance your mortgage with Wells Fargo Home Mortgage, if eligible you can set up
monthly automatic loan payments from this checking account to the new Wells Fargo Home Mortgage loan.

Please Note
The Consumer Account Fee and Information Schedule and Deposit Account Agreement, as amended, continue to apply.

If you have questions about these changes or would like a different account, please contact your local banker or call the number listed
on your statement.

Thank you for banking with Wells Fargo. We appreciate your business.



NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-TO WELLS
(1-800-869-3557) to share your language preference.



A simplified fee schedule for Consumer Wires will be effective June 26, 2023:

Outgoing wire transfer fees




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5:20 PM                                                          Negita
05/19/23                                                Reconciliation Detail
                                                 Wells Fargo 9608, Period Ending 04/30/2023

                       Type               Date         Num          Name       Clr      Amount          Balance
             Beginning Balance                                                                                940.78
                 Cleared Transactions
                   Checks and Payments - 1 item
             Check              04/07/2023     dm            Wells Fargo        X             -940.84        -940.84

                       Total Checks and Payments                                              -940.84        -940.84

                       Deposits and Credits - 1 item
             Deposit                04/07/2023                                  X                0.06             0.06

                       Total Deposits and Credits                                                0.06             0.06

                 Total Cleared Transactions                                                   -940.78        -940.78

             Cleared Balance                                                                  -940.78             0.00

             Register Balance as of 04/30/2023                                                -940.78             0.00

             Ending Balance                                                                   -940.78             0.00




                                                                                                                         Page 1
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- Digital Wire: Domestic and International U.S. currency = $25, International Foreign currency = $0

- Branch/Voice Channel: Domestic, International U.S. currency, and International Foreign currency = $40

- Repetitive Outgoing Wire: Domestic, International U.S. currency, and International Foreign currency = $25

Incoming wire transfer fee

- Domestic and International = $15

Fees may vary based on the type of account you have as some accounts offer fee waivers for some services. For a complete list of
services, fees, and fee waivers that are available with your account, please refer to your Consumer Account Fee and Information
Schedule, as applicable.




Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo personal loan.
Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score.
Get started at wellsfargo.com/personalloan.

                                                ®
Wells Fargo Way2Save Savings

Statement period activity summary                                                                       Account number:                9608
        Beginning balance on 3/16                                                 $940.78               YASUKO NEGITA
        Deposits/Additions                                                           0.08               New Jersey account terms and conditions apply
        Withdrawals/Subtractions                                                 - 940.86
                                                                                                        For Direct Deposit use
        Closing balance on 4/7                                                      $0.00               Routing Number (RTN): 021200025




Interest summary
       Interest paid this statement                                     $0.08
       Average collected balance                                     $940.78
       Annual percentage yield earned                                  0.14%
       Interest earned this statement period                            $0.08
       Interest paid this year                                          $0.43




Transaction history

                                                                                                               Deposits/         Withdrawals/           Ending daily
       Date         Description                                                                                Additions         Subtractions               balance
       4/7          Interest Payment                                                                                0.08
       4/7          Account Close Cashier's Check                                                                                      940.86                   0.00

       Ending balance on 4/17                                                                                                                                   0.00

       Totals                                                                                                      $0.08              $940.86

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.
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This statement includes an account that has been closed and this is your final statement for that account. You will have 90 days to
retrieve historical online documents for this account. Please refer to the Fee & Information Schedule for options to obtain statement
copies after 90 days.

If the account that has been closed is the primary account on the statement that includes multiple accounts (a "combined statement"),
this is also the final combined statement and you will also have 90 days to retrieve historical online documents for all accounts
associated with this combined statement. Going forward, you will receive separate statements for any accounts that remain open.

Thank you for banking with Wells Fargo.




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Worksheet to balance your account                                         Important Information You Should Know
Follow the steps below to reconcile your statement balance with your         To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest      Consumer Reporting Agency about your accounts:
paid into your account and any service charges, automatic payments or        Wells Fargo Bank, N.A. may furnish information about deposit accounts to
ATM transactions withdrawn from your account during this statement           consumer reporting agencies. You have the right to dispute the accuracy of
period.                                                                      information that we have furnished to a consumer reporting agency by
A Enter the ending balance on this statement.             $                  writing to us at Overdraft Collection and Recovery, P.O. Box 5058, Portland,
                                                                             OR 97208-5058. Please describe the specific information that is inaccurate
 B List outstanding deposits and other                                       or in dispute and the basis for the dispute along with supporting
credits to your account that do not appear on                                documentation. If you believe the information furnished is the result of
this statement. Enter the total in the column                                identity theft, please provide us with an identity theft report.
to the right.                                                                If your account has a negative balance:
                                                                             Please note that an account overdraft that is not resolved 60 days from the
Description                     Amount
                                                                             date the account first became overdrawn will result in closure and charge
                                                                             off of your account. In this event, it is important that you make
                                                                             arrangements to redirect recurring deposits and payments to another
                                                                             account. The closure will be reported to Early Warning Services. We reserve
                                                                             the right to close and/or charge-off your account at an earlier date, as
                                                                             permitted by law. The laws of some states require us to inform you that this
                                                                             communication is an attempt to collect a debt and that any information
                   Total   $                           + $                   obtained will be used for that purpose.
                                                                             In case of errors or questions about your electronic transfers:
C Add A and B to calculate the subtotal.               = $                   Telephone us at the number printed on the front of this statement or write
                                                                             us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
 D List outstanding checks, withdrawals, and
                                                                             you can, if you think your statement or receipt is wrong or if you need more
other debits to your account that do not appear
                                                                             information about a transfer on the statement or receipt. We must hear
on this statement. Enter the total in the column
                                                                             from you no later than 60 days after we sent you the FIRST statement on
to the right.                                                                which the error or problem appeared.

Number/Description              Amount                                       1. Tell us your name and account number (if any).
                                                                             2. Describe the error or the transfer you are unsure about, and explain as
                                                                                clearly as you can why you believe it is an error or why you need more
                                                                                information.
                                                                             3. Tell us the dollar amount of the suspected error.
                                                                             We will investigate your complaint and will correct any error promptly. If
                                                                             we take more than 10 business days to do this, we will credit your account
                                                                             for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.
                                                                             In case of errors or questions about other transactions (that are not
                                                                             electronic transfers):
                                                                             Promptly review your account statement within 30 days after we made it
                                                                             available to you, and notify us of any errors.




                   Total   $                           -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                  ©2021 Wells Fargo Bank, N.A. All rights reserved Member FDIC. NMLSR ID 399801
